                              NO. 23-15992

        IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT
          –––––––––––––––––––––––––––––––––––––––––––––
                  FEDERAL TRADE COMMISSION,
                       Plaintiff-Appellant,
                                    v.
                     MICROSOFT CORP., and
                   ACTIVISION BLIZZARD, INC.,
                       Defendants-Appellees.
          –––––––––––––––––––––––––––––––––––––––––––––
              On Appeal from the United States District Court
                  for the Northern District of California
                             No. 3:23-cv-2880
               (Hon. Jacqueline Scott Corley, U.S. Distr. J.)
          –––––––––––––––––––––––––––––––––––––––––––––
                        OPENING BRIEF
           OF THE FEDERAL TRADE COMMISSION
                          [REDACTED]
          –––––––––––––––––––––––––––––––––––––––––––––
HOLLY VEDOVA                             ANISHA S. DASGUPTA
Director                                 General Counsel
JOHN NEWMAN                              MARIEL GOETZ
Deputy Director                          Acting Director of Litigation
SHAOUL SUSSMAN                           IMAD D. ABYAD
Associate Director for Litigation        Attorney
JAMES H. WEINGARTEN
                                         FEDERAL TRADE COMMISSION
PEGGY BAYER FEMENELLA
                                         600 Pennsylvania Avenue, NW
JAMES ABELL
                                         Washington, DC 20580
CEM AKLEMAN
                                         (202) 326-3579
MEREDITH R. LEVERT
                                         iabyad@ftc.gov
JENNIFER FLEURY
Attorneys
BUREAU OF COMPETITION
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                           INTRODUCTION

     Microsoft Corp. has proposed to acquire Activision Blizzard, Inc.

for $69 billion, in a vertical merger that would restructure the 3 billion-

user gaming industry. In what would be the largest ever deal in that

industry, the merger would combine the owner of one of the principal

playing platforms, Microsoft, with one of the “Big 4” independent game

publishers, Activision.

     The Federal Trade Commission (FTC or Commission) filed an

administrative complaint to determine whether the proposed

acquisition violates antitrust law. If the merger is consummated and

reaches its potential for harm, it would enable Microsoft—at a key

inflection point in a massive and growing industry—to foreclose

platform rivals from a leading input provider: Activision, which

produces some of the industry’s most popular games. At stake,

therefore, is whether the emerging subscription and cloud gaming

markets will calcify into oligopolistic walled gardens or evolve into open,

competitive landscapes, where games are platform-agnostic, new

platforms can emerge to challenge established incumbents, and

consumers are free to choose where and how to access their games.
     To aid its administrative proceedings, the FTC sought a

preliminary injunction under Section 13(b) of the FTC Act to pause the

merger pending a merits determination. Section 13(b) authorizes such

relief whenever the FTC raises serious, substantial questions on the

antitrust merits and the equities favor granting relief. Here, the FTC

presented compelling evidence that the merger is reasonably likely to

substantially lessen competition in multiple relevant markets—more

than meeting the statutory standard.

     The district court nonetheless erroneously denied preliminary

relief based on reasoning containing multiple errors. Throughout its

decision, the court effectively applied the ultimate merits standard

rather than Section 13(b)’s preliminary injunction standard. For one

market, the court identified a foreclosure of rivals that was sufficient to

raise a serious question about the legality of the merger, yet

disregarded that foreclosure after erroneously crediting a supposed

efficiency that was not cognizable, verifiable, or merger-specific. For two

other markets, the court impermissibly gave dispositive weight to the

merging parties’ proposed remedies although the scope of the merger’s

harm has yet to be finally determined, making it impossible for the



                                     2
court to evaluate whether the proposed remedies would sufficiently

address that harm. The district court thus usurped the Commission’s

role in determining the antitrust merits and did so on an admittedly

limited record. The district court also misapplied the Supreme Court’s

traditional liability framework for vertical mergers, and failed to follow

established precedent concerning the role of intent in antitrust analysis,

the viability of partial foreclosure theory, and the balance of equities

under Section 13(b).

      CIRCUIT RULE 28-2 STATEMENT OF JURISDICTION

     (a) The district court had subject matter jurisdiction pursuant to

28 U.S.C. §§ 1331, 1337(a), and 1345.

     (b) The decision on review denied a preliminary injunction, and is

thus appealable under 28 U.S.C. § 1292(a)(1), pursuant to which this

Court has jurisdiction.

     (c) The district court’s decision was dated July 10, 2023, and

docketed on July 11, 2023. Appellant, a United States agency, timely

filed its notice of appeal on July 12, 2023. Fed. R. App. P. 4(a)(1)(B)(ii).

            STATEMENT OF THE ISSUES PRESENTED

     1. Whether the district court erred when it rejected the FTC’s

showing of a likelihood of success on the antitrust merits based on:

                                      3
            a. application of an incorrect legal standard for relief;

            b. a premature and improper determination that the harm

from Microsoft’s foreclosure of rivals in the market for multi-game

subscription services is outweighed by Microsoft’s offering some

Activision content on only Microsoft’s own service in that market;

            c. an impermissible reliance on the merging parties’

proffered remedies at the preliminary injunction stage.

      2. Whether the district court erred in failing to properly apply the

functional liability framework set forth in Brown Shoe Co. v. United

States, 370 U.S. 294 (1962).

      3. Whether the district court erred in:

            a. ruling that Microsoft’s post-merger incentives to foreclose

are negated by its executives’ stated intent to forgo doing so; and

            b. holding that partial foreclosure is not possible without the

incentives for full foreclosure.

      4. Whether the district court erred in according no weight to the

public equities favoring preliminary relief.




                                     4
                     STATEMENT OF THE CASE

A.   Statutory Framework

     Section 7 of the Clayton Act prohibits mergers “the effect of” which

“may be substantially to lessen competition” in “any line of commerce.”

15 U.S.C. § 18. “In the statutory phrase ‘in any line of commerce’, the

word entitled to emphasis is ‘any’.” Crown Zellerbach Corp. v. FTC, 296

F.2d 800, 812 (9th Cir. 1961).

     Section 5 of the FTC Act, in turn, proscribes “[u]nfair methods of

competition in or affecting commerce.” 15 U.S.C. § 45(a)(1). An

acquisition that violates Section 7 of the Clayton Act, by definition, also

violates Section 5 of the FTC Act. FTC v. Ind. Fed’n of Dentists, 476

U.S. 447, 454 (1986).

     Congress “empowered and directed” the FTC to enforce Section 5

of the FTC Act, and “vested” in the agency the power to enforce Section

7 of the Clayton Act. 15 U.S.C. §§ 45(a), 21(a).

     The FTC may enforce these statutory mandates by issuing an

administrative complaint, holding an adjudicatory hearing to determine

the antitrust merits, and, if law violations are found, issuing a cease

and desist order with appropriate remedies, including blocking the

merger and divestiture. See 15 U.S.C. §§ 21(b), 45(b). The cease and

                                     5
desist order is subject to review in an appropriate court of appeals. Id.

§§ 21(c), 45(c).

      To aid the FTC’s administrative adjudication, Section 13(b) of the

FTC Act authorizes the FTC to seek preliminary relief to prevent

consummation of a merger until the Commission has the opportunity to

determine the merger’s legality in its administrative proceeding.

15 U.S.C. § 53(b); FTC v. Affordable Media, LLC, 179 F.3d 1228, 1233

(9th Cir. 1999).

      Section 13(b) preliminary injunctions “are meant to be readily

available to preserve the status quo while the FTC develops its ultimate

case.” FTC v. Whole Foods Mkt. Inc., 548 F.3d 1028, 1036 (D.C. Cir.

2008); see FTC v. Penn St. Hershey Med. Ctr., 838 F.3d 327, 352 (3rd

Cir. 2016) (purpose of Section 13(b) “is to preserve the status quo and

allow the FTC to adjudicate the anticompetitive effects of the proposed

merger in the first instance”); FTC. v. Food Town Stores, Inc., 539 F.2d

1339, 1342 (4th Cir. 1976) (“The only purpose of a proceeding under § 13

is to preserve the status quo until FTC can perform its function.”).

      Accordingly, the scope of court proceedings under Section 13(b) is

“narrow.” FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1162 (9th Cir.



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1984) (per curiam); accord FTC v. Meta Platforms Inc., No. 22-4325,

2022 WL 16637996, at *5 (N.D. Cal. Nov. 2, 2022) (scope is “necessarily

limited and narrow”). The court “is not to make a final determination on

whether the proposed merger violates Section 7.” Warner Commc’ns,

742 F.2d at 1162. “That adjudicatory function is vested in the FTC in

the first instance.” Whole Foods, 548 F.3d at 1042 (Tatel, J.,

concurring). The court’s task is “rather to make only a preliminary

assessment of the merger’s impact on competition.” Warner Commc’ns,

742 F.2d at 1162.

B.   The Proposed Acquisition

     In January 2022, Microsoft and Activision announced a planned

$68.7 billion merger, the largest ever deal in the gaming industry and

in Microsoft’s history. PX9050 at 25 [2-ER-184]. Microsoft’s video

gaming business includes multiple playing platforms: Xbox GamePass,

a multi-game library subscription service; Xbox Cloud Gaming (or

xCloud), a games streaming service; and the Xbox specialized gaming

console. PX9050 at 15 [2-ER-183]. Microsoft also publishes games

through its Xbox Game Studios, comprising 24 separate game

development studios. PX0003 at 16 [3-ER-469].



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     Activision develops video games, and is easily one of the largest

independent game publishers. Its current titles include Diablo,

Overwatch, Candy Crush (for mobile devices), World of Warcraft (for

PCs), and Call of Duty—the most successful video game franchise in the

industry’s history, earning approximately             in sales annually.

ECF_226-2 at 7 [3-ER-292].

C.   The Gaming Industry

     The gaming industry has over 3 billion players worldwide, with

revenues exceeding those of the film, music, and print entertainment

industries. PX1777 at 32-33 [3-ER-429-30]. It is the fastest-growing

entertainment medium, expected to reach 4.5 billion consumers by

2030. PX1785 at 9 [3-ER-422].

     Video games can be played on general-purpose or gaming PCs,

consoles, and mobile devices. PX1777 at 33 [3-ER-430]. Gaming PCs

typically have more advanced hardware, allowing users to play

computationally more demanding games. PX8001 ¶15 [3-ER-230-31].

Conversely, games played on mobile devices have lower-quality

graphics and typically are less sophisticated. PX0003 at 73 [3-ER-476].




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     Consumers and industry participants agree that gaming content

drives the sales of both the games and the platforms required to play

them. See PX1087 at 1 [3-ER-453] (“content is king”). “AAA” video

games (those requiring the most resources to develop and to play, and

that command the broadest appeal for gamers) require hundreds of

millions of dollars, hundreds of personnel, and years to make. PX4671

at 1 [3-ER-380]; PX8001 ¶¶20-23 [3-ER-302-303]. These games are

particularly important in the gaming industry; platforms employ AAA

titles to attract users, build their gaming ecosystems, and gain a

competitive advantage over rivals. PX8001 ¶¶18-23 [3-ER-302-303].

     1. Multi-Game Library Subscription Services

     The gaming industry is experiencing rapid change. Today, gamers

can play via a subscription to a multi-game library service, with tiered

access to hundreds of games for a recurring fee. Hr’g Tr. 138:2-9 [2-ER-

151]; PX0003 at 18 [3-ER-471]; PX0006 at 13-14 [3-ER-465-66]. This

differs markedly from the traditional buy-to-play model in which

gamers purchased outright the games they played on their personal

hardware devices.




                                    9
     Microsoft’s Xbox GamePass, launched in 2017, is already far and

away the dominant multi-game subscription service. PX0006 at 13 [3-

ER-465]; PX1516 at 39 [3-ER-443]; PX8001 ¶9 [3-ER-297-98]. Sony’s

PlayStationPlus ranks second but well behind. PX7053 at 17-19 [3-ER-

341]; PX8001 ¶9 [3-ER-297-98]. Other firms, like Amazon (via Prime

Gaming and Luna+), Electronic Arts (via EA Play), and Ubisoft (via

Ubisoft+) provide similar services, albeit to far fewer users currently.

PX3206 at 4 [3-ER-409]; PX0003 at 18-19 [3-ER-471-72]; PX0006 at 80

[3-ER-467].

     2. Cloud Gaming

     Cloud gaming—which Microsoft views as “the future of gaming”—

is another nascent but rapidly growing segment of the industry. PX3381

at 6 [3-ER-399]. It lets gamers stream the game’s video content without

downloading the code onto the gamer’s device, be that consoles, PCs,

mobile devices, or (in the case of Microsoft’s xCloud) smart TVs. PX8000

¶¶6-7, 50 [3-ER-313, 323]; PX0003 at 77 [3-ER-477]; Hr’g Tr. 846:9-13

[2-ER-110]. Cloud gaming services run games on remote servers so that

the primary processing occurs in separate datacenters and only live

video feeds of the games are streamed to the player’s device. PX0003 at



                                    10
95 [3-ER-478]; PX8000 ¶7 [3-ER-313]; PX3381 at 2-3 [3-ER-397-98].

This enables playing computationally demanding games on less

powerful devices. PX8000 ¶7 [3-ER-313]; PX0003 at 77 [3-ER-477]; Hr’g

Tr. 64:8-10, 467:24-468:22 [2-ER-145, 139-40]; PX3381 at 2 [3-ER-397].

Cloud gaming “has helped AAA gaming reach users in lower

socioeconomic groups who otherwise would not be able to purchase, or

could not afford, their own video game system or gaming PC.” PX8000

¶10 [3-ER-314].

        Microsoft’s xCloud is already the dominant leader in this market,

and is a core pillar of Microsoft’s gaming business strategy. Hr’g Tr.

835-844 [2-ER-99-108]. Microsoft introduced xCloud in late 2020.

PX9091 at 1-6 [2-ER-176-81]. Millions of gamers already have used

xCloud, PX9171 at 17 [2-ER-175], and internal Microsoft documents

predict that cloud gaming will “dramatically expand [Microsoft’s]

market opportunity.” Hr’g Tr. 308:4-11 [2-ER-125]; PX1065 at 17 [3-ER-

456].

        Other participants in the cloud gaming market include Amazon,

Nvidia, and Sony. PX0003 at 68 [3-ER-475]; PX8001 ¶9 [3-ER-297-98].

The ability for new entrants to access gaming content is critical; Google



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exited that market in January 2023, citing the high cost and difficulty

of securing gaming content for its service. Hr’g Tr. 470-471 [2-ER-141-

42].

       3. Console Gaming

       Gaming consoles are consumer devices designed especially for

playing video games. PX8001 ¶10 [3-ER-298]. Consumers purchase

consoles based on hardware features as well as the availability of game

content on the particular device. PX8001 ¶¶4, 11 [3-ER-295-96, 298].

       Currently, the two high-performance consoles are Microsoft’s Xbox

Series X/S and Sony’s PlayStation5, both in their ninth design iteration

(or generation). PX0003 at 60, 105 [3-ER-474, 479]; PX2421 at 8-9 [3-

ER-415-16]. Console makers generate revenue from sales of their

hardware and accessories (like controllers, headsets, and storage

drives), and from having a share of the revenue of publishers like

Activision from game sales, add-on content sales, and in-game

purchases. PX0003 at 16 [3-ER-469]; PX1110 at 12 [3-ER-452]; PX8001

¶¶4-5 [3-ER-295-96].

D.     Enforcement Proceedings

       In December 2022, the Commission commenced administrative

proceedings to determine if the proposed merger violates Section 7 of

                                   12
the Clayton Act and Section 5 of the FTC Act. See Complaint, In the

Matter of Microsoft Corp. et al., FTC Dkt. 9412 (Dec. 8, 2022) (Admin.

Cmplt.), at 1. The administrative complaint alleged that the merger, if

consummated, “would continue Microsoft’s pattern of taking control of

valuable gaming content,” increase barriers to entry, and give Microsoft

“the ability and increased incentive to withhold or degrade Activision’s

content in ways that substantially lessen competition” in quality, price,

and innovation. Admin. Cmplt. ¶1. The complaint alleged a lessening of

competition was reasonably likely in at least three distinct U.S.

markets (id. ¶¶92-95): (1) high-performance consoles, id. ¶¶63-72;

(2) multi-game subscription services, id. ¶¶73-82; and (3) cloud gaming

services, id. ¶¶83-91.

     An administrative hearing on the merits was set for August 2,

2023, ECF_1 ¶16 [3-ER-553], but later put on hold. Order Withdrawing

Matter from Adjudication, In the Matter of Microsoft Corp. et al., FTC

Dkt. 9412 (July 20, 2023).

     Meanwhile, on April 26, 2023, the U.K. Competition & Markets

Authority (UKCMA), following its own investigation, issued a finding

that the merger violated UK competition law because it was likely to



                                   13
substantially lessen competition in the market for cloud gaming—one of

the product markets in the FTC’s complaint. ECF_10-7. In May 2023,

the UKCMA issued an interim injunction and a proposed final order to

prohibit the merger for ten years. Id.

E.   The District Court Proceedings and Order on Review

     In light of Microsoft’s representations to the district court in a

parallel, private challenge to the merger about the merging parties’

consummation timeline—and UKCMA’s later interim order, ECF_10-

7—the FTC initially focused on its administrative adjudication.

Defendants later represented to the FTC, however, that they might

close their deal well before the August 2 administrative merits hearing.

ECF_1 at 2-3 [3-ER-548-49]. Thus, on June 12, 2023, the FTC filed this

action for a preliminary injunction pursuant to Section 13(b) of the FTC

Act, 15 U.S.C. § 53(b). See ECF_1 at 2-3 [3-ER-548-49].

     The district court ordered an expedited hearing based on

defendants’ representations that a merger termination deadline of July

18, 2023, was looming. Op. 20 [1-ER-21]. Shortly after the district court

issued its opinion, however, the merging parties negotiated an




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extension of that termination deadline until October 18, 2023.

Activision Blizzard, Inc. Current Report (SEC Form 8-K), July 19, 2023.

      Following the hearing, the district court denied preliminary relief,

ruling the FTC “has not shown it is likely to succeed on its assertion the

combined firm will probably pull Call of Duty from Sony PlayStation, or

that its ownership of Activision content will substantially lessen

competition in the video game library subscription and cloud gaming

markets.” Op. 1 [1-ER-2].

      The district court agreed with the FTC that key elements for such

relief are present. The court accepted that the United States is the

relevant geographic market. Op. 28-30 [1-ER-29-31]. It also accepted

that multi-game subscription services, cloud gaming services, and high-

performance consoles (comprising only Xbox and PlayStation) are

relevant product markets for antitrust analysis. Op. 23-28 [1-ER-24-29].

And it held that “the combined firm would have the ability to foreclose”

its rivals in all three markets. Op. 33 [1-ER-34]. Additionally, in the

multi-game subscription market, the court accepted that the merged

firm is in fact likely to offer Activision titles exclusively on Microsoft’s

GamePass, and not on rival subscription services. Op. 47 [1-ER-48].



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     Nonetheless, the district court denied relief, because it determined

that Microsoft lacked incentives post-merger to foreclose rivals in the

cloud gaming and console markets. The court relied on Microsoft’s post-

complaint third-party deals (and mere offers) that purported to remedy

the merger’s harmful impact on competition, and on self-interested

testimony and out-of-court statements of Microsoft executives. Op. 33-

44, 49-50 [1-ER-34-45, 50-51]. As for the multi-game subscription

services market, the court concluded that, despite Microsoft’s likely

foreclosure of rivals, Microsoft’s strategy of offering Call of Duty on its

own GamePass service (and no other rival service) was sufficient to

render the merger procompetitive. Op. 47-49 [1-ER-48-50].

     The district court acknowledged that its analysis was hurried by

the merging parties’ then-impending (but, as it turned out, artificial)

termination deadline, and that it did not address all of the FTC’s

arguments. Op. 53 [1-ER-54]. It also acknowledged that the record

contained “conflicting evidence on the anticompetitive effects of the

merger”; nevertheless, it held that the equities involved did not support

preliminary relief. Op. 51-52 [1-ER-52-53].




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     This appeal followed. On July 14, 2023, the Court denied the

FTC’s emergency motion for an injunction pending appeal.

                     SUMMARY OF ARGUMENT

     The district court’s rushed denial of preliminary relief was riddled

with errors and should be reversed.

     1.a. In a proceeding for a preliminary injunction under Section

13(b) of the FTC Act, this Court has long held that the FTC need only

raise serious and substantial questions on the antitrust merits, not

establish the merits themselves. The district court, however, repeatedly

held the FTC to the ultimate merits standard of showing a probability

that the merger will substantially lessen competition. This legal error

infected the district court’s analysis in multiple respects and improperly

led the court to deny preliminary relief.

     b. The FTC met its burden to raise serious questions on the

merits by proffering significant evidence that Microsoft’s merger with

Activision may lessen competition in relevant antitrust markets.

Activision is currently a platform-agnostic provider of key input for the

gaming industry. The FTC showed that post-merger, the merged firm

likely would deny, degrade, or delay access to Activision’s content by



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Microsoft’s rivals—enhancing Microsoft’s already dominant position in

the subscription and cloud markets, and lessening competition among

console suppliers. This is exactly what happened after recent Microsoft

acquisitions of similar firms. The evidence also showed that the merger

will likely preclude further collaboration between Activision and other

platform providers, impeding innovations that so far have led to

significant consumer benefits.

     c. The district court misapplied the law when, concerning the

market for multi-game subscription services, the court accepted as a

countervailing efficiency that Microsoft will offer Call of Duty only on

its GamePass service, to the exclusion of its rivals. No court before has

held that proffered efficiencies precluded preliminary relief under

Section 13(b). To the extent efficiencies are even a valid defense to

Section 7 violations—a doubtful proposition according to the Supreme

Court and this Court—their consideration should be left to the merits

proceedings, when the actual harm is determined and can then be

weighed against such efficiencies.

     In addition, the court failed to evaluate whether Microsoft’s

proffered efficiency was cognizable, verifiable, and merger-specific.



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Even cursory analysis shows that Microsoft’s expressed plan to make

some Activision content available on only its own GamePass service

may not qualify as procompetitive.

     d. The district court further erred by relying on the merging

parties’ proffered remedies to negate the FTC’s showing of a likelihood

of success. The record, including expert economic reasoning,

documentary evidence, hearing testimony, and Microsoft’s history of

acquisitions, shows a probability that the merged firm will have the

ability and incentive to fully or partially foreclose its rivals from

Activision’s content in at least three relevant markets.

     The court’s reliance on Microsoft’s post-complaint side deals as a

remedy in the cloud gaming and console markets was doubly wrong.

First, proceedings for a preliminary injunction under Section 13(b) are

not designed to reach even the question of liability, much less determine

the ultimate nature and quantum of the competitive harm. A court

hearing a request for a preliminary injunction under Section 13(b) thus

lacks a basis to decide whether proposed remedies are appropriate and

sufficient to undo that harm.




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     Second, because the FTC was seeking preliminary relief in aid of

an administrative adjudication, the merits in this case were to be

decided in the first instance by the FTC, an expert government body

that Congress specifically entrusted with the task of fashioning

appropriate remedies for antitrust violations. The court’s ruling on

defendants’ proffered remedies usurped the Commission’s special

authority.

     2. The court likewise committed reversible error in its treatment

of the FTC’s alternate theory of liability, which was based on the

framework for analyzing vertical mergers that the Supreme Court

articulated in Brown Shoe Co. v. United States, 370 U.S. 294 (1962).

The court skipped over the Brown Shoe functional factors in a

perfunctory, single-paragraph analysis that failed to engage with the

FTC’s evidence and arguments, which raised sufficiently serious and

substantial questions to merit relief.

     3.a. The court committed additional reversible errors too. First,

the court failed to follow established precedent providing that the

merging parties’ self-interested statements of intent cannot negate a

regulator’s evidence of anticompetitive effects. Instead, the court relied



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on testimony and out-of-court statements by Microsoft’s executives

concerning the company’s “intent”; and it mistakenly treated those

statements as evidence that the firm lacked economic incentives to

foreclose its rivals. The court also erred by ignoring the clear

unreliability of that evidence.

      b. Second, the court erroneously held that the FTC cannot show

partial foreclosure of rivals if the incentives for full foreclosure are not

present. As the Supreme Court has recognized, there are advantages to

partial foreclosure such that even a firm lacking incentives for full

foreclosure may still engage in strategies designed to degrade rivals’

products and services. And Microsoft’s past conduct shows that partial

foreclosure is distinctly likely here.

      4. Finally, the district court erred in according no weight to the

public equities favoring relief. The court ignored the public equities of

effective enforcement of the antitrust laws and preserving the FTC’s

ability to order meaningful relief, when those were Congress’s specific

goals in enacting Section 13(b)’s provision for preliminary relief.




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                      STANDARD OF REVIEW

     The Court reviews the grant or denial of a preliminary injunction

for abuse of discretion. FTC v. Enforma Nat. Prods., 362 F.3d 1204,

1211 (9th Cir. 2004); Warner Commc’ns, 742 F.2d at 1160. Accordingly,

the Court reviews legal conclusions de novo, and factual findings for

clear error. FTC v. Consumer Def., LLC, 926 F.3d 1208, 1211-12 (9th

Cir. 2019).

     Where the district court has “applied an incorrect legal standard,”

the Court’s review is de novo. Warner Commc’ns, 742 F.2d at 1159.

                             ARGUMENT

     The FTC requests a preliminary injunction pursuant to Section

13(b) of the FTC Act,1 which Congress enacted to preserve the FTC’s

ability to order meaningful relief upon completion of an administrative

proceeding on the merits of an alleged violation of law. See H.R. Rep.

93-624, at 31 (1973) (Conf. Rep.), reprinted in 1973 U.S.C.C.A.N. 2417,

2533. “Section 13(b) places a lighter burden on the Commission than




 1 Section 13(b) provides that “[u]pon a proper showing that, weighing

the equities and considering the Commission’s likelihood of ultimate
success, such action would be in the public interest … a preliminary
injunction may be granted.” 15 U.S.C. § 53(b).


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that imposed on private litigants by the traditional equity standard.”

Warner Commc’ns, 742 F.2d at 1159-60 (citing H.R. Rep. 93-624, 1973

U.S.C.C.A.N. 2533); accord Affordable Media, 179 F.3d at 1233 (Section

13(b) is a “more lenient standard.”).

     The district court misapplied this standard in a rushed decision

spurred by defendants’ representations that a ruling after their

impending merger-termination deadline could scupper their deal. Just

days after the court’s ruling, however, defendants negotiated an

extension of the deadline to October 18, 2023.

I.   THE DISTRICT COURT MISAPPLIED THE STANDARD FOR
     PRELIMINARY RELIEF THAT SECTION 13(B) OF THE FTC
     ACT SETS FORTH FOR FTC CASES
     A.    The District Court Erroneously Conflated
           Section 13(b)’s Preliminary Injunction Standard
           With the Clayton Act’s Ultimate Merits Standard

     The core antitrust inquiry here is well settled. Section 7 of the

Clayton Act prohibits mergers “the effect of” which “may be

substantially to lessen competition.” 15 U.S.C. § 18; United States v.

Philadelphia Nat’l Bank, 374 U.S. 321, 355 (1963). The goal of the

statutory prohibition is to arrest the anticipated anticompetitive effects

of mergers “in their incipiency.” United States v. E.I. du Pont de

Nemours & Co., 353 U.S. 586, 589, 597 (1957); Warner Commc’ns, 742


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F.2d at 1160. The statutory language evinces Congress’s concern with

“probabilities, not certainties,” and Congress’s determination that the

government need only show a “reasonable likelihood” of a substantial

lessening of competition in a relevant market. Brown Shoe Co. v. United

States, 370 U.S. 294, 323, 362 (1962); St. Alphonsus Med. Ctr.-Nampa

Inc. v. St. Luke’s Health Sys. Ltd., 778 F.3d 775, 783 (9th Cir. 2015).

     Section 7’s standard applies to all mergers, “horizontal, vertical,

conglomerate, or other.” FTC v. Procter & Gamble Co., 386 U.S. 568,

577 (1967). In a vertical merger, the “primary vice” is foreclosure of

competitors from segments of the market otherwise open to them.

Brown Shoe, 370 U.S. at 323; accord Steves & Sons, Inc. v. JELD-WEN,

Inc., 988 F.3d 690, 720 (4th Cir. 2021). Because Section 7 requires only

“a prediction” about a merger’s impact, “doubts are to be resolved

against the transaction.” FTC v. Elders Grain, Inc., 868 F.2d 901, 906

(7th Cir. 1989).

     In FTC actions for preliminary relief under Section 13(b) of the

FTC Act, the question before the court is much narrower: The FTC need

only show some likelihood of success in the administrative proceeding

(where the Section 7 standard will apply), and that the equities favor



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relief. Warner Commc’ns , 742 F.2d at 1159. This Court has long held

that the FTC meets the statute’s “likelihood of success” prong by

“rais[ing] questions going to the merits so serious, substantial, difficult

and doubtful as to make them fair ground for thorough investigation,

study, deliberation and determination by the FTC in the first instance.”

Warner Commc’ns, 742 F.2d at 1162.

     Here, the district court erred by conflating Section 13(b)’s

standard for a preliminary injunction with the permanent injunction

standard under Section 7 of the Clayton Act. The court recited the

proper Section 13(b) standard, Op. at 22-23 [1-ER-23-24], but when it

turned to deciding whether the FTC had made a sufficient showing of

likelihood of success, the district court inexplicably deviated from this

Court’s requirement that the FTC show only “serious questions” going

to the merits, Warner Commc’ns, 742 F.2d at 1162.

     For example, the court stated that “to establish a likelihood of

success … the FTC must show … competition would probably be

substantially lessened.” Op. 33 [1-ER-34] (emphasis added). In other

words, the court required the FTC to prove the likely effects of the

merger—not just to raise serious questions about those effects. That is



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incorrect: “At this stage, ‘[t]he FTC is not required to establish that the

proposed merger would in fact violate section 7 of the Clayton Act’.”

Penn St. Hershey, 838 F.3d at 337 (quoting FTC v. H.J. Heinz Co., 246

F.3d 708, 714 (D.C. Cir. 2001) (alteration original)); accord Whole

Foods, 548 F.3d at 1035 (“district court must not require the FTC to

prove the merits”). Likewise, the court held that the outcome here

“‘turn[s] on whether, notwithstanding the proposed merger’s conceded

procompetitive effects, the [g]overnment has met its burden of

establishing, through ‘case-specific evidence,’ that the merger of

[Microsoft] and [Activision], at this time and in this remarkably

dynamic industry, is likely to substantially lessen competition in the

manner it predicts’.” Op. at 31 [1-ER-32] (quoting United States v.

AT&T, Inc., 916 F.3d 1029, 1037 (D.C. Cir. 2019)) (alterations original).

Yet AT&T involved not a preliminary injunction but a permanent

injunction with the attendant higher standard of proof.

     The same error infected other aspects of the district court’s

analysis. See, e.g., Op. at 30 [1-ER-31] (relying on AT&T and other non-

Section 13(b) cases); Op. 31 [1-ER-32] (“court must engage in a

comprehensive inquiry”) (quoting AT&T, 310 F. Supp. 3d at 190); Op.



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46 [1-ER-47] (applying the AT&T merits standard). In short, the district

court erroneously reached the antitrust merits under Section 7 of the

Clayton Act. That is not the standard of proof in this Section 13(b)

proceeding. Because the court “applied an incorrect legal standard,”

Warner Commc’ns, 742 F.2d at 1160, its decision should be reversed.

     Warner Communications, the Court’s seminal decision on the

scope of judicial inquiry under Section 13(b), illustrates the proper

approach and offers a telling contrast to the district court’s flawed

analysis. In that case, after concluding that the district court applied

the wrong standard, 742 F.2d at 1160-62, this Court undertook its own

analysis of whether preliminary relief was warranted. The Court

acknowledged that the parties “presented conflicting evidence” on “the

merger’s probable effect on competition.” Id. at 1162. It emphasized,

however, that its “present task is not to make a final determination” but

“only a preliminary assessment” of the merits. Id. (citing Food Town,

539 F.2d at 1344). After reviewing the record below, the Court

concluded that the Commission had made “a tenable showing” of the

merits; specifically, the Commission “met [the] burden of demonstrating

a likelihood of success” under Section 13(b) by raising “serious



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questions.” Id. at 1164. The Court stressed it “d[id] not ignore”

defendants’ contrary evidence, but it reiterated that the inquiry on a

request for preliminary relief under Section 13(b) is “a narrow one,”

intended to neither “resolve the conflicts in the evidence” nor

“undertake an extensive analysis of the antitrust issues.” Id. at 1164.

        Here, the district court found there was “conflicting evidence on

the anticompetitive effects of the merger.” Op. 52 [1-ER-53]. Under

Warner, that finding was sufficient to show that the FTC met its burden

of showing the requisite likelihood of success. The court’s contrary

holding was reversible error.

        B.   The FTC Has Marshalled Compelling Evidence
             That the Merger May Substantially Lessen
             Competition

        The FTC presented ample evidence to show that the merger likely

would fundamentally restructure the gaming industry and may result

in substantial lessening of competition in multiple relevant antitrust

markets, including the United States markets for multi-game

subscription services, cloud gaming services, and high-performance

consoles. That evidence was enough to meet the Commission’s burden

here.



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           1.    Microsoft’s incentives to foreclose

     The record contains considerable evidence pointing to Microsoft’s

economic incentives, post-merger, to foreclose its rivals. Microsoft’s past

conduct following similar acquisitions—like its 2021 purchase of

ZeniMax, another major independent publisher of games—plainly

demonstrates Microsoft’s inclination, after acquiring gaming content, to

make that content exclusive to Microsoft’s platforms. ZeniMax’s games,

like Activision’s, were platform-agnostic. Hr’g Tr. 91:2-13 [2-ER-150].

And as with Activision,



          . Hr’g Tr. 235:9-16 [3-ER-285]. Microsoft also argued to

antitrust regulators, just as it did here, that its interests were in

offering ZeniMax’s games across multiple platforms. PX9036 at 22 [3-

ER-294]; PX1651 at 125-29 [3-ER-434-38]; PX0070 at 7 [3-ER-459].

Nevertheless, after the deal closed, Microsoft made future ZeniMax

content—including AAA titles like Starfield, Redfall, and Elder Scrolls

VI— exclusive to its platforms. PX4334 at 1 [3-ER-389]; PX4309 at 1 [3-

ER-393]; Hr’g Tr. 243:12-244:3, 240:11-25 [3-ER-286, 289-90]; PX7012

at 426:7-20 [3-ER-361]; PX0027 at 4 [3-ER-463]. In doing so, Microsoft



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prioritized                                               PX1471 at 19

[3-ER-450]. As Microsoft Gaming’s CFO testified,



                                     PX7007 at 167:25-168:5 [3-ER-363-

64]. Of 24 games released by the studios that Microsoft acquired since

2018, only six were released on other platforms (four due to preexisting

commitments and two released before the relevant acquisition was

final). PX0027 at 2-4 [3-ER-461-63]; PX7053 at 29:8-21 [3-ER-342];

PX7031 52:1-53:13, 66:24-67:15 [3-ER-352].

     Microsoft’s strategy of acquiring content and making that content

exclusive to its platforms has been particularly pronounced in the cloud

gaming market, where Microsoft has a “first mover” advantage and

“continue[s] to lead in the fast-growing cloud gaming market.” Hr’g. Tr.

838:10-23 [2-ER-102]. Microsoft has refused to put its content, whether

acquired or developed in-house, on rival cloud gaming services. Hr’g Tr.

66:8-19 [2-ER-147]; PX4351 at 1 [3-ER-386] (Head of Xbox Game

Studios on such a possibility: “[N]o effing way.”). Consistent with that

strategy,




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                , PX8000 at 12 [3-ER-324],

         PX4351 at 2 [3-ER-387]. Foreclosure of rivals is a core

Microsoft strategy to maintain its already-dominant position atop this

nascent, paradigm-shifting digital market.

     Microsoft’s incentives to foreclose is undergirded by its ability to

recoup losses on Activision’s revenue after the merger. In January 2022,

Microsoft conducted an internal analysis to determine whether the

combined firm could recoup the potential loss of Activision’s revenue

from games sold on Sony’s PlayStation. Microsoft concluded that it

could—via a combination of increased GamePass subscriber growth and

a shift of Activision sales from PlayStation to Xbox. PX4359 at 1-3 [3-

ER-382-84]; Hr’g Tr. 1008:6-1010:2, 1017:8-19, 1024:8-1026:12 [3-ER-

70-72]. Microsoft Gaming’s CFO testified that such recoupment options

would be both “reasonable” and “achievable.” Hr’g Tr. 1028-29 [3-ER-73-

74]; PX4472 at 1 [3-ER-381].

           2.    Lessening of competition in the multi-game
                 subscription market

     Activision has made some of its content available on multi-game

subscription services, such as older Call of Duty titles on Sony’s service,

PlayStationPlus. Hr’g Tr. 748:17-21 [2-ER-87]; PX3378 at 40 [2-ER-


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194]. Activision’s CEO also testified that Activision could offer its games

on other subscription services going forward. Hr’g Tr. 749:18-750:25 [2-

ER-88-89]. In 2020, for example, Activision held discussions with

Microsoft to add Activision content to GamePass, but commercial terms

were not agreed upon. Hr’g Tr. 751 [2-ER-90].

       Microsoft’s gaining control of Activision likely would extinguish

any chance that Activision titles will be offered on subscription services

other than Microsoft’s already dominant GamePass. As Microsoft

conceded, Microsoft’s strategy for GamePass is “to create a moat that

nobody else can attack.” Hr’g Tr. 67:19-68:5 [2-ER-148-49]. And as

market participants testified, Microsoft’s control of Activision’s content

would allow Microsoft



                                     . PX8001 ¶41 [3-ER-310]. The FTC’s

expert, Dr. Lee, explained that content foreclosure would enhance

Microsoft’s market power in a segment where Microsoft already is the

market leader, resulting in higher prices, lower quality, reduced

product variety, and reduced innovation. PX5000 at 235-236 [3-ER-378-

79].



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           3.    Lessening of competition in cloud gaming

     Microsoft is the runaway dominant provider in the rapidly

growing cloud gaming market—a sector that Microsoft and others view

as the “future of gaming.” PX9012 at 6 [2-ER-186]; see PX8000 at ¶12

[3-ER-314]. Gaining control of Activision’s content likely will entrench

its dominant position and lead to a substantial lessening of competition

at a critical juncture in this nascent market’s development.

     Absent the merger, an independent Activision likely would

publish its content on multiple cloud gaming services. It has already

made some content, including thirteen Call of Duty titles, available on

Nvidia’s service, GeForceNow, during beta testing between 2017-2020;

and it was in discussions to make Call of Duty titles available on the

commercialized version of GeForceNow just before the merger was

announced. Hr’g Tr. 754:1-5, 755:18-25 [2-ER-93-94]; PX8000 ¶¶41, 43

[3-ER-320-22]; PX3104 at 18-20 [3-ER-411-13].



      . Id.; PX8000 ¶44 [3-ER-322].




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                        . Id. ¶¶45-46 [3-ER-322].

     Gaining consumer traction and scale is critical to competing

effectively in the cloud gaming market. But that is difficult without

premium (AAA) content—as Google’s exiting the market has

demonstrated, see supra 11-12. PX7035 at 154:18-155:5 [3-ER-350].

Thus, as Dr. Lee testified, Microsoft’s foreclosure of rival cloud gaming

providers from Activision’s content likely will lead to consumer harm in

the form of higher prices, lower quality, less product variety, and

reduced innovation. PX5000 at 235-236 [3-ER-378-79].

           4.    Lessening of competition in the console
                 market

     Microsoft’s full or partial foreclosure of Activision’s content would

leave consumers with fewer or worse options in the console market than

would prevail absent the merger. Consumers who now play Activision’s

games on PlayStation would be forced to choose between buying an

Xbox console or forgoing Activision titles (or, in the case of partial

foreclosure, playing an inferior or delayed version of those titles). The

FTC’s economic expert, Dr. Lee, quantified some of that harm, showing

that making Activision’s content exclusive to Microsoft’s Xbox would


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                                     . PX5000 at 232 [3-ER-375].

     The merger is also likely to harm innovation in the console

market. Hardware manufacturers now collaborate with Activision to

ensure a high-quality gaming experience for consumers. PX8001 ¶40 [3-

ER-309-10]. Such collaboration requires the sharing of competitively

sensitive information. PX8001 ¶40 [3-ER-309-10]; PX7053 at 34-35 [3-

ER-343]; PX7006 at 135-137 [3-ER-366-68]. Post-acquisition, the

prospect that such information could be used to benefit Microsoft’s own

products likely will reduce, if not eliminate, the incentives of rival

platforms to collaborate with Activision—resulting in consumer harm.

PX1486 at 2 [3-ER-446]; PX7014 at 175-78 [3-ER-358-59]; PX7053 at 34

[3-ER-343]. Indeed, competitors have indicated they likely would cease

such information sharing with the merged entity. PX3378 at 9-11 [2-

ER-191-93].

                               *     *     *

     The FTC’s robust evidentiary and legal showing should have been

sufficient to establish a likelihood of success on the merits, given

Congress’s determination that preliminary relief must be “readily



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available to preserve the status quo while the FTC develops its ultimate

case.” Whole Foods, 548 F.3d at 1036; accord Penn St. Hershey, 838 F.3d

at 352. Instead, the district court concluded the FTC had not shown the

requisite likelihood of success because the court believed that in the

market for multi-game subscription services, a purported efficiency

outweighed any harm to competition, and in the other two markets,

Microsoft’s proffered side-deals would remedy the merged firm’s

foreclosure of rivals. As we explain below, both conclusions rested on

legal errors and deviated from the Section 13(b) standard.

     C.    The District Court Erred in Ruling That a
           Purported Efficiency Negates the Foreclosure in
           the Market for Multi-Game Subscription Services

     The district court committed reversible error when it refused relief

despite finding that, in the multi-game subscription market, the

proposed merger likely will lead to Microsoft’s foreclosing rivals from

Activision’s gaming content.2 The court “accept[ed] for preliminary

injunction purposes it is likely Call of Duty will be offered exclusively on




 2 Contrary to the district court’s assumption (Op. 47 [1-ER-48]), there

is a reasonable likelihood that Activision, if it remains independent, will
offer its titles on multi-game subscription services in the future. Hr’g
Tr. 746:8-16; 748:9-16; 749:4-10; 751:13-21 [2-ER-85, 87-88, 90].


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Game Pass, and not offered on rival subscription services.” Op. 47 [1-

ER-48]. That ruling amounts to finding a sufficient likelihood of

lessening of competition, through foreclosure, to support relief. See Ash

Grove Cement Co. v. FTC, 577 F.2d 1368, 1371 (9th Cir. 1978)

(affirming Commission order condemning vertical merger).

     “The primary vice of a vertical merger,” the Supreme Court has

held, “is that, by foreclosing the competitors of either party from a

segment of the market otherwise open to them, the arrangement may

act as a ‘clog on competition’.” Brown Shoe, 370 U.S. at 323-24 (quoting

Standard Oil Co. of Cal. v. United States, 337 U.S. 293, 314 (1949)).

That is why Section 7 prohibits “vertical … mergers whose effect may

tend to lessen competition in any line of commerce.” Id. at 317.

     Microsoft’s proposed acquisition of Activision thus violates the

statute if it may tend to lessen competition in any of the relevant

markets. Crown Zellerbach, 296 F.2d at 812 (“[T]he word entitled to

emphasis is ‘any’.”).

     Rather than heeding this guidance and issuing the requested

preliminary relief, the district court mistook the import of Microsoft’s

placing Activision content on only its own GamePass platform. The



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court concluded, wrongly, that because “Call of Duty is not and never

has been offered (in any significant sense) on a multigame library

subscription service, … the merger has the procompetitive effect of

expanding access to Call of Duty.” Op. 47 [1-ER-48].

     The district court’s conclusion is erroneous in multiple respects.

First, to the extent the court viewed Microsoft’s offering of Call of Duty

exclusively on GamePass as a procompetitive efficiency of the merger,

the evaluation of such an efficiency should have been, at a minimum,

deferred to the merits stage. No court before has held that efficiencies

can immunize an otherwise anticompetitive merger from Section 13(b)

preliminary relief. And for good reason. For starters, the very existence

of such a defense is doubtful.

     “The Supreme Court has never expressly approved an efficiencies

defense to a § 7 claim” and, to the contrary, has “cast doubt on the

defense” on multiple occasions. St. Alphonsus, 778 F.3d at 790. Courts

thus “are skeptical that such an efficiencies defense even exists.” Penn

St. Hershey, 838 F.3d at 347-48; accord St. Alphonsus, 778 F.3d at 790

(“[W]e remain skeptical about the efficiencies defense in general and

about its scope in particular.”). See Procter & Gamble, 386 U.S. at 580



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(“Possible economies cannot be used as a defense to illegality.”); United

States v. Anthem, 855 F.3d 345, 353 (D.C. Cir. 2017) (“[I]t is not at all

clear that [merger efficiencies] offer a viable legal defense to illegality

under Section 7.”). Leading antitrust scholars likewise have cautioned

against recognizing an efficiencies defense. St. Alphonsus, 778 F.3d at

790.

       Regardless, any consideration of efficiencies must occur after the

merger’s nature and scope of harm have been determined, because the

court must evaluate whether the proffered efficiencies are sufficient to

outweigh that harm. But the determination of harm is properly

reserved for the merits—not the preliminary injunction—proceedings.

Heinz, 246 F.3d at 725 (FTC established a likelihood of success for

preliminary relief purposes, although at the merits stage the

Commission “may accept … [an] efficiencies defense, and permit the

merger to proceed”).

       Second, the court should have subjected any proffered efficiencies

to a far more rigorous analysis to “ensure that those ‘efficiencies’

represent more than mere speculation and promises about post-merger

behavior.” Heinz, 246 F.3d at 721. Efficiencies must “create a more



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efficient combined entity and thus increase competition,” not simply

provide “better service” to defendant’s customers or “improve []

operations.” St. Alphonsus, 778 F.3d at 790, 792; accord Penn St.

Hershey, 838 F.3d at 349.

     Defendants advancing an efficiencies defense thus bear the

burden to “clearly demonstrate” that their proffered efficiencies are

cognizable, verifiable, merger-specific, and, in the end, sufficient to

offset the merger’s likely adverse effects. St. Alphonsus, 778 F.3d at

790; accord FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160, 176

(3d Cir. 2022); Heinz, 246 F.3d at 720-21. And courts that recognize the

defense may exist apply very close scrutiny to efficiency claims,

especially in markets that are already highly concentrated. St.

Alphonus, 778 F.3d at 790-91; Penn St. Hershey, 838 F.3d at 349

(efficiencies require “demanding scrutiny”).

     Microsoft’s proffered efficiency meets none of these conditions. The

district court cited as support for its procompetitiveness conclusion the

view of Microsoft’s expert, Dr. Carlton, that “adding [Call of Duty] to

Game Pass will result in an increase in the number of Game Pass

users,” and, “will actually lower costs for many game consumers.” Op.



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47 [1-ER-48] (citing RX5056 ¶144, 141-142 [3-ER-481-83]). Even

assuming arguendo that those claims are true, that hardly shows such

benefits can enhance competition or can be accomplished only via the

proposed merger (i.e. be “merger-specific.”). As this Court has

emphasized, “[i]t is not enough to show that the merger would allow

[the merged firm] to better serve [consumers].” St. Alphonsus, 778 F.3d

at 791. “The Clayton Act focuses on competition, and the claimed

efficiencies therefore must show that the prediction of anticompetitive

effects from the prima facie case is inaccurate.” Id.

      Here, Activision’s CEO testified that Activision has not added its

content to Microsoft’s GamePass because the parties have yet to agree

on the commercial terms, Hr’g Tr. 751:22-25 [2-ER-90],

                                  PX7006 at 204:13-18 [3-ER-370]. The

merger, in other words, is not the only way to add Activision’s content to

Microsoft’s platform. The proffered efficiency thus is not merger-

specific.

      Third, the district court had it backwards when it faulted the

FTC’s expert, Dr. Lee, for not providing a quantitative analysis of “how

many” consumers will “subscribe to Game Pass because of Call of Duty”



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and “how it will affect competition with [Microsoft’s] Game Pass

competitors.” Op. 48 [1-ER-49]. The burden to “clearly demonstrate”

that proffered efficiencies are valid, verifiable, and sufficient to offset

the likely harm is on the merging parties—not the FTC. St. Alphonsus,

778 F.3d at 790; Hackensack, 30 F.4th at 175-76; Penn St. Hershey, 838

F.3d at 350; Heinz, 246 F.3d at 720-21. The merging parties provided no

such analysis, and that should have been an additional reason for

rejecting those purported benefits.

      Fourth, the district court improperly resolved evidentiary conflicts

against granting relief when the law calls for the opposite. The court

cited to evidence purportedly showing that, absent the merger,

Activision will not contract to put its content on subscription services.

Op. 48 [1-ER-49]. But the record contained ample contrary evidence

that the court simply ignored. The court ignored that Activision’s

content already had been available on rival subscription services in the

past. PX2189 at 15 [3-ER-420]; PX3381 at 7-8 [3-ER-400-01]. Multiple

Call of Duty titles were available on Nvidia’s GeForceNow, for example,

from June 2017 to February 2020. PX8000 ¶41 [3-ER-320-21].




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               . PX8000 ¶¶43-45 [3-ER-321-22].

                                                  . PX3381 at 9-10 [3-ER-

402-403].



                                                                . PX2419

at 4 [3-ER-418].

     The district court simply ignored this evidence, erroneously ruling

that the FTC did not identify any evidence on this point. Op. 49 [1-ER-

50]. See Whole Foods, 548 F.3d at 1035 (The district court must decide

motion based on “all the evidence before it, from the defendants as well

as from the FTC.”). The district court thus effectively “resolve[d] the

conflicts in the evidence” against granting preliminary relief—contrary

to this Court’s guidance in Warner Communications, and other courts’

holdings that, in FTC merger challenges, doubts in the evidentiary

record are “to be resolved against the transaction,” Penn St. Hershey,

838 F.3d at 337; Elders Grain, 868 F.2d at 906.




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     Fifth, the court erroneously deemed granting consumers access to

Activision’s content via only Microsoft’s own subscription service as self-

evidently procompetitive. Op. 47 [1-ER-48]. As discussed above,

Microsoft’s GamePass is already the dominant multi-game subscription

service, and the addition of Activision’s key content to that service is

certain to greatly enhance Microsoft’s power in that market. There

exists a clear risk, therefore, that such “expanded access” will be

controlled post-merger by what may effectively become a monopolist in

that market,3 and at the cost of forgoing competitive expansions by

other firms absent the merger. See St. Alphonsus, 778 F.3d at 790-92.

The relevant antitrust comparison is how competition may unfold with

or without the merger. See United States v. General Dynamics Corp.,

415 U.S. 486, 503-04 (1974); Ash Grove, 577 F.2d at 1379. Microsoft’s

purported expansion of consumer access, on only its own GamePass, is

anything but certain to be procompetitive. See Ford Motor Co. v. United

States, 405 U.S. 562, 569-70 (1972) (rejecting consideration of merger’s


 3 As the D.C. Circuit has cautioned, “it would be inimical to the

purpose of the [antitrust laws] to allow monopolists free reign to squash
nascent, albeit unproven, competitors at will—particularly in industries
marked by rapid technological advance and frequent paradigm shifts.”
United States v. Microsoft Corp., 253 F.3d 34, 79 (D.C. Cir. 2001).


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“beneficial effect in making [defendant] a more vigorous and effective

competitor” when merger “aggravated an already oligopolistic

market.”).

     These multiple errors in the district court’s analysis of the multi-

game content library market warrant reversal.

     D.      The District Court Impermissibly Relied on
             Defendants’ Proposed Remedies to Deny Relief

     The district court also committed a fundamental legal error in its

analysis of the markets for cloud gaming services and consoles: It

wrongly relied on Microsoft’s post-complaint side deals with third

parties, which purported to resolve the merger’s likely foreclosure of

rivals. See Hospital Corp. of Am. v. FTC, 807 F.2d 1381, 1384 (7th Cir.

1986) (Posner, J.) (even FTC’s merits proceeding was “not required to

take account of a post-acquisition transaction that may have been made

to improve [defendant’s] litigating position”).

     As an initial matter, the merging parties’ proffered remedies are

relevant only to the question of what relief is appropriate after a merits

determination of liability. See Whole Foods, 548 F.3d at 1034

(considering the “remedy necessary to undo the effects of the merger”

premature where “neither court nor agency has found acquisition


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[unlawful]”). Proposed remedies should not be considered at the

preliminary injunction stage, where a limited record and truncated

schedule preclude the rigorous vetting necessary to ensure that

defendants’ proposals would actually remedy the adverse competitive

effects. Whole Foods, 548 F.3d at 1033. Moreover, here, the crafting or

acceptance of any remedy should have been left for the merits

proceeding before the FTC, an agency designated by Congress to serve

as an expert body on the appropriate remedies for antitrust law

violations. The court should not have usurped that role, much less on a

partial record and while rushing to issue a decision because of an

artificially “compressed” timeline, Op. 53 [1-ER-54].4

           1.    The district court relied on Microsoft’s side
                 deals to find no likelihood of success

     The district court expressly relied on Microsoft’s side deals when

finding that the FTC showed no likelihood of success on the merits in

two of the three relevant markets under consideration. First, in the




 4 The district court’s rush to issue its decision because of defendants’

artificial “termination date” admittedly deprived it of the time for a
rigorous analysis of all the issues presented. See Op. 53 [1-ER-54]. See
Whole Foods, 548 F.3d at 1041 (“the court should have taken whatever
time it needed to consider the FTC's evidence fully”).


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cloud gaming market, the district court held that the FTC’s likelihood of

success “is foreclosed by Microsoft’s post-FTC complaint agreements

with five cloud-streaming providers.” Op. 49 [1-ER-50]. Relying on these

agreements, the court concluded the merger will “enhance, not lessen,

competition in the cloud-streaming market.” Id.

     Second, in the market for high-performance consoles, the district

court’s principal reasons for finding that Microsoft had no incentives to

foreclose its rivals were the agreements (and even mere offers) that

Microsoft made “upon the merger’s announcement.” Op. 33 [1-ER-34].5

The court cited Microsoft’s post hoc deal with Nintendo to bring one

Activision game, Call of Duty, to the Switch console, Op. 34 [1-ER-35]—

although the court earlier found that the console market under

consideration did not include Nintendo’s Switch, Op. 27-28 [1-ER-28-

29]. And it cited Microsoft’s post hoc discussions with Valve (owner of

Steam, a PC game store) and Sony, as well as Microsoft’s offers to keep



 5 The court also cited Microsoft’s “deal plan evaluation,” Op. 34-35 [1-

ER-35-36], which it later found “not dispositive of the incentive
question,” Op. 44 [1-ER-45]; and self-interested testimony of Microsoft’s
executives, Op. 35-36 [1-ER-36-37], who were repeatedly impeached on
the stand to the point that one needed to retract his prior testimony.
See infra note 11.


                                   47
Activision’s Call of Duty alone on their platforms. Op. 33-34, 38 [1-ER-

34-35, 39].

     The district court’s reliance on Microsoft’s proffered remedies was

thus central to its denial of preliminary relief—and was clear legal

error. See Warner Commc’ns, 742 F.2d at 1162 (reliance on improper

evidence “not harmless”).

              2.   Proposed remedies cannot be considered at
                   the preliminary relief stage of merger
                   analysis

     As discussed, Section 13(b) proceedings are meant to be

preliminary in nature, with “questions going to the merits” left for

“determination by the FTC in the first instance.” Warner Commc’ns, 742

F.2d at 1162. This is doubly true when the merits questions concern a

defendant’s proposals for remedying a merger’s adverse effects.

     Proposed remedies should be considered only after a finding of

liability, at the remedy stage of the subsequent merits proceeding. See

United States v. Greater Buffalo Press, Inc., 402 U.S. 549, 556 (1971)

(noting that trial court, having found no liability, “naturally did not

reach the question of remedy”); cf. United States v. Microsoft Corp., 253

F.3d 34, 80 (D.C. Cir. 2001) (en banc) (per curiam) (acknowledging



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“Microsoft’s concerns over causation,” but noting “these queries go to

questions of remedy, not liability”). And for good reason: Without a final

determination of the nature, scope, and even magnitude of a merger’s

impact on competition, it would be impossible to properly assess

whether any proposed remedies would in fact be appropriate and

sufficient to neutralize that adverse impact. Because a Section 13(b)

preliminary injunction proceeding cannot even reach the question of

liability, much less accurately determine the scope and magnitude of a

merger’s effects, a court deciding only temporary relief plainly cannot

resolve what the appropriate remedy would be if a violation of the law

were ultimately found. See Food Town, 539 F.2d at 1345 (FTC entitled

to Section 13(b) relief regardless of what the “ultimate remedy” in

administrative adjudication might be).

     The district court erroneously relied on United States v. E.I. du

Pont de Nemours & Co., 366 U.S. 316 (1961), and United States v.

AT&T, Inc., 916 F.3d 1029 (D.C. Cir. 2019), to reject the FTC’s

argument that a “proposed remedy” may not be considered until after a

liability finding at the merits proceeding. Op. 39 [1-ER-40]. But neither

of these cases involved a Section 13(b) proceeding. Both concerned a



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permanent injunction, where the government had to prove the ultimate

merits, and thus consideration of the proposed remedies was

appropriate because liability was also determined in the same

proceeding.

     Moreover, proposed remedies, which by definition concern

competitive measures outside the scope of the merger itself, cannot

receive less scrutiny than merger-specific efficiencies. Yet that is

exactly what the district court did below. As discussed, this Court has

“cast doubt” on whether merger-specific efficiencies should factor into

even the ultimate determination of a merger’s legality. St. Alphonsus,

778 F.3d at 788-89; see supra at 38-39. If such doubt is applied to

efficiencies, even at the merits stage, at least comparable skepticism

should be applied to remedial measures that were proffered only after a

merger challenge. And as with efficiencies, remedies are best considered

at the merits stage of the analysis, when the exact nature and scope of

harm is determined—not during proceedings for preliminary relief

under Section 13(b).

     This case exemplifies why courts should not assess defendants’

proposed remedies at a preliminary stage of adjudication. Long after



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the merger was announced, Microsoft hastily executed contracts with

Nintendo, Nvidia, and three cloud gaming providers to supply

Activision content for their platforms. RX1212 [3-ER-514-17]; RX1211

[3-ER-518-33]; RX1221 [3-ER-507-13]; sRX1222 [3-ER-497-506];

RX1245 [3-ER-488-96].6 These agreements were expressly negotiated as

part of a strategy to influence the determination of the merger’s

legality:

                                                          . See, e.g.,

RX1211 at 1 [3-ER-518].



     . ECF_180-3 [3-ER-534-39]; PX7069 at 28:18-29:12 [2-ER-188-89].

      Nonetheless, the district court accepted Microsoft’s third-party

deals as negating any concerns about Microsoft’s foreclosure of rivals.

Op. 18-19 [1-ER-19-20]. But these agreements (and mere offers) were

never vetted by the FTC7 and never subjected to any analysis even by


 6 Microsoft also proffered a mere letter of intent with a fourth firm,

British Telecom’s EE Limited, RX3027 [3-ER-484-87].
 7 The FTC was unable to obtain discovery from most of these firms,

and Microsoft’s own witnesses were unable to answer even simple
questions about their deal partners, suggesting their current market
significance is minimal or non-existent. See, e.g., PX7028 at 236 [3-ER-


                                    51
Activision’s games.



                       . See, e.g., PX1781 at 4 [3-ER-424].




                                                                      See,

e.g., PX1781 at 10 [3-ER-426]; Hr’g Tr. 202:6-22 [2-ER-156].



                                PX7060 at 128:19-129:03 [3-ER-333].

     Even if they were “guaranteed,” it is far from evident these

agreements would constitute a sufficient remedy. The Nintendo deal,

for example, certainly does not; that agreement calls for Microsoft to

release Call of Duty on Switch, which is not even in the high-

performance console market the court analyzed, and



                                                           . PX7065 at

132:2-8, 164:12-168:5 [3-ER-329-31].

     The deficiency in the district court’s analysis of Microsoft’s side

deals is especially pronounced with respect to the cloud gaming market.



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Four of Microsoft’s five proffered deals are with out-of-market foreign

providers—as Microsoft’s own expert, Dr. Carlton, acknowledged.8

Accordingly, their access to Activision’s content is not likely to reduce—

let alone eliminate—the harm to competition in the relevant geographic

market here: The United States. Hr’g Tr. 894:17-895:22; PX7055 at

105:6-7, 140:14-21, 162:5-8 [3-ER-335-37]. And all five providers,

including in-market Nvidia, operate a “bring-your-own-game” model

that limits gamers to streaming only the games they have already

purchased. PX8000 ¶28 [3-ER-317].

     Tellingly, Microsoft’s own expert, Dr. Carlton, neither attempted

to quantify the purported benefits from these agreements, nor

considered whether they would have any impact in the United States,

leading the district court to strike his testimony concerning these

agreements as irrelevant. Hr’g Tr. 1115:19-1116:2 [2-ER-76-77].

Nonetheless, the court went on to hold that these agreements cured all

anticompetitive concerns in the cloud gaming market. Op. 49 [1-ER-50].


 8 Boosteroid is located in Ukraine, Ubitus is in Taiwan, and Nware is

in Spain. British Telecom’s EE, located in England, appears to not even
offer cloud gaming services and has not announced any plans to do so.
See Tom Warren, Is Microsoft Getting Ready to Add PC Games to Xbox
Cloud Gaming, THE VERGE (Apr. 11, 2023).


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      The district court also cited Microsoft’s mere offer to Sony (Op. 38

[1-ER-39]), which suffers from the same flaws as the executed deals.



                  . PX3378 at 17-19 [3-ER-405-07].

                                                             Id. at 19 [3-

ER-407]. And Microsoft’s pricing offer for Sony’s subscription service

was

                                    . PX7053 at 63:16-24, 70:13-23 [3-

ER-345-46].

           3.    The district court should have deferred to
                 the FTC’s expertise in antitrust remedies
                 rather than evaluating the side deals itself

      The district court further erred in granting dispositive weight to

Microsoft’s proffered remedies because the merits proceedings in this

case are to be held before the Commission: The government agency that

Congress has designated as the expert body for fashioning appropriate

remedies for antitrust violations. Evaluation of the side deals thus

should have been left to the Commission.

      Section 11 of the Clayton Act grants the Commission the power to

order relief for violations of that statute “in the manner and within the



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time fixed by said order.” 15 U.S.C. § 21(b). Likewise, the Supreme

Court has long recognized that under Section 5 of the FTC Act, the

Commission is “clothed with wide discretion in determining the type of

order that is necessary to bring an end to the unfair practices found to

exist.” FTC v. Nat’l Lead Co., 352 U.S. 419, 428 (1957); accord Atl.

Refining Co. v. FTC, 381 U.S. 357, 376 (1965) (FTC has “wide discretion

in its choice of a remedy.”). See, e.g., Olin Corp. v. FTC, 986 F.2d 1295,

1307 (9th Cir. 1993) (divestiture order within FTC’s “properly exercised

discretion”); ProMedica Health Sys., Inc. v. FTC, 749 F.3d 559, 573 (6th

Cir. 2014) (same); Chicago Bridge & Iron Co. N.V. v. FTC, 534 F.3d 410,

442 (5th Cir. 2008) (same); L.G. Balfour Co. v. FTC, 442 F.2d 1, 23 (7th

Cir. 1971) (The “choice of the remedial order is committed to the

discretion of the Commission.”).

     The Supreme Court has recognized that Congress “placed the

primary responsibility for fashioning [antitrust] orders upon the

Commission.” Nat’l Lead, 352 U.S. at 429. As the Supreme Court has

explained, Congress, in passing the FTC Act, “felt that courts needed

the assistance of [those] trained to combat monopolistic practices in the

framing of judicial decrees in antitrust litigation.” FTC v. Cement



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Institute, 333 U.S. 683, 726 (1948); accord Hospital Corp., 807 F.2d at

1386.9 The Supreme Court thus “named the Commission” as “‘the

expert body to determine what remedy is necessary to eliminate the

unfair or deceptive trade practices which have been disclosed’.” Nat’l

Lead, 352 U.S. 428 (quoting Jacob Siegel Co. v. FTC, 327 U.S. 608, 612-

13 (1946)).

      Indeed, the Commission’s special role in fashioning antitrust

remedies extends even beyond the cases brought by (and before) the

agency itself. In Section 7 of the FTC Act, Congress authorized the

district courts, in equitable lawsuits brought by the Department of

Justice, and upon a finding of liability, to “refer said suit to the

Commission, as a master in chancery, to ascertain and report an

appropriate form of decree therein.” 15 U.S.C. § 47.

      The district court usurped that core Commission power. It decided

for itself—in preliminary proceedings, on a limited record, and rushing


 9 Judge Posner observed that “[o]ne of the main reasons for creating

the Federal Trade Commission and giving it concurrent jurisdiction to
enforce the Clayton Act was that Congress distrusted judicial
determination of antitrust questions. It thought the assistance of an
administrative body would be helpful in resolving such questions and
indeed expected the FTC to take the leading role in enforcing the
Clayton Act.” Hospital Corp., 807 F.2d at 1386.


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against artificial time constraints—that Microsoft’s proposed remedies

were sufficient to undo any harm from the merger. Moreover, it did so

without the Commission’s vetting of those supposed remedies or even a

final determination of the nature and extent of that harm. The district

court’s evaluation of the proposed remedies was reversible legal error.

II.   THE DISTRICT COURT ERRED IN DISMISSING THE SUPREME
      COURT’S BROWN SHOE LIABILITY FRAMEWORK

      The district court further erred in failing to properly apply the

Supreme Court’s Brown Shoe framework for assessing vertical merger

foreclosure. 370 U.S. at 328-34.10 See United States v. Am. Cyanamid

Co., 719 F.2d 558, 567 (2nd Cir. 1983) (Brown Shoe provides the

“standard framework of analysis” for vertical mergers.). Brown Shoe

and its progeny provide an alternative analytical framework to the

“ability and incentive to foreclose” analysis which the district court

employed, Op. 32-33 [1-ER-33-34]. The Supreme Court in Brown Shoe

set forth a multifactor analysis for assessing Section 7 liability in the


 10 The court faulted the FTC for not referencing Brown Shoe in its

opening or closing arguments, Op. 50 [1-ER-51], but the FTC relied on
this framework throughout the proceeding. See, e.g., ECF_7 (FTC Mo.
for TRO) at 17-18 [3-ER-541-42]; ECF_309 (FTC Final Proposed
Findings of Fact & Conclusions of Law) at 170-71, 174, 179-83 [3-ER-
276-83].


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context of vertical mergers, including considerations such as the size of

the share of the market foreclosed, the nature and economic purpose of

the transaction, any trends toward concentration in the industry, and

barriers to entry. 370 U.S. at 328–34. See, e.g., Ford Motor, 405 U.S. at

566-70; Am. Cyanamid, 719 F.2d at 567. See also Fruehauf Corp. v.

FTC, 603 F.2d 345, 352 (2nd Cir. 1979) (Brown Shoe is “the

fountainhead of § 7 analysis of vertical mergers.”).

     The district court dismissed that theory in a single paragraph,

claiming that its ability and incentive analysis had already addressed

the FTC’s arguments. Op. at 50 [1-ER-51]. That is incorrect.

     As an initial matter, the court skipped over whether the potential

foreclosure of Activision’s AAA content from Microsoft’s current and

future rivals would be more than de minimis—a factor it was required

to consider under Brown Shoe. 370 U.S. at 328.

     The court also failed to adequately address the “nature and

purpose” of this vertical merger—which the Supreme Court identified

as the “most important … factor to examine.” Brown Shoe, 370 U. S. at

329. The Supreme Court has explained that if a vertical arrangement

resembles “a tying contract” then the arrangement “is inherently



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anticompetitive” in nature, and “likely substantially to lessen

competition although only a relatively small amount of commerce is

affected.” Id. at 330 (internal quotation marks and citations omitted).

Here, the district court acknowledged that the merger will likely result

in tying the ability to play Activision’s games to the use of Microsoft’s

platforms. The district court recognized that “it is likely Call of Duty

will be offered exclusively on Game Pass, and not offered on rival

subscription services.” Op. at 47 [1-ER-48]. Yet it dismissed this “most

important” factor to the antitrust analysis, Brown Shoe, 370 U. S. at

329, as merely “true in any vertical merger.” Op. 51 [1-ER-52]. The

court thus erroneously concluded that “the record does not support a

finding of a serious question as to whether Call of Duty Game Pass

exclusivity will probably substantially lessen competition in the

subscription services market.” Op. at 47 [1-ER-48].

     Further, although the district court recognized that the FTC’s

proffered application of Brown Shoe included the acquisition’s effect on

barriers to entry, Op. 50 [1-ER-51], the court failed to analyze that

factor at all. The FTC showed that high entry barriers already exist in

all three markets, see ECF_309 ¶¶679-701 [3-ER-272-275]; that entry or



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growth is difficult without access to AAA gaming content, e.g., PX7035

at 154:18-155:5 [3-ER-350]; and that Microsoft will deny rivals access to

Activision’s AAA content in the multi-game subscription market. The

district court’s failure to address entry barriers at all, for any of the

relevant markets, was reversible error. E.g., Am. Cyanamid, 719 F.2d

at 566-67 (reversing lower court for failure to apply Brown Shoe,

including the “barriers to entry” factor).

      Lastly, the district court committed legal error regarding the

“trend toward concentration” factor. Despite apparently finding that

such a trend was present, the court insisted on separate proof that the

trend is itself “anticompetitive.” Op. 51 [1-ER-52] (FTC “fails to explain

how this trend is anticompetitive here.”). That is not the law. Warner

Commc’ns, 742 F.2d at 1162-63 (identifying “industry trends toward

concentration” as a “[f]actor[] to consider,” without requiring separate

showing that trend is itself anticompetitive). The relevant question is

whether the challenged acquisition—not the industry trend—is

anticompetitive. A trend toward consolidation is a factor that can

indicate that a merger may lessen competition; it is evidentiary, not an




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additional basis for liability. E.g., Miss. River Corp., 454 F.2d 1083,

1092 (8th Cir. 1972).

III. THE DISTRICT COURT COMMITTED OTHER REVERSIBLE
     ERRORS

     A.    Microsoft’s Incentives to Foreclose Cannot Be
           Negated by Its Executives’ Stated Intent Not to
           Do So

     The district court erroneously discounted the FTC’s showing of

Microsoft’s post-merger incentive to foreclose rivals in the relevant

markets, instead improperly relying on testimony and out-of-court

statements by Microsoft’s executives that they had no intent to

foreclose. First, as a matter of law, statements of good intentions do not

preclude Section 7 violations. DuPont, 353 U.S. at 607. Second, the

circumstances in which those statements were made render that

evidence unreliable anyway.

     As discussed above, supra 29-31, the FTC proffered ample

evidence showing that Microsoft’s post-merger incentives point to a

likelihood of foreclosure in all three markets under consideration. The

evidence focused on the firm’s economic incentives, as the law and

common sense require. The central presumption in antitrust law is that

firms seek to maximize profits, which is why “good motives will not



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validate an otherwise anticompetitive practice.” Cal. Dental Ass’n v.

FTC, 224 F.3d 942, 948 (9th Cir. 2000) (internal quotation marks and

citation omitted); accord Miss. River, 454 F.2d at 1089 (“Honest

intentions, business purposes and economic benefits are not a defense to

violations of an antimerger law.”). Indeed, unless specific intent is

required as an element of the claim, such as for claims of conspiracy or

attempts to violate the antitrust laws, evidence of intent is relevant

only to the extent it helps illuminate the anticompetitive effects at

issue. Chicago Bd. of Trade v. United States, 246 U.S. 231, 238 (1918);

Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 602-03

(1985); accord Microsoft, 253 F.3d at 59.

     Notwithstanding these principles, the district court erroneously

gave dispositive weight to Microsoft’s purported intent not to foreclose.

The court characterized Microsoft’s post-complaint side deals as

“inconsistent with an intent to foreclose.” Op. at 34 [1-ER-35]. It relied

on testimony from Microsoft’s executives that “there are no plans to

make Call of Duty exclusive to Xbox” to support finding a lack of

incentive to do so. Op. at 35 [1-ER-36]. And it faulted the FTC for

(supposedly) not presenting documentary evidence “contradict[ing]



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Microsoft’s stated intent not to make Call of Duty exclusive to Xbox

consoles.” Op. 36 [1-ER-37]. This focus on legally irrelevant

considerations is a reversible error.

     The district court’s error was amplified by the inherently

unreliable nature of the evidence of intent on which the court relied.

Statements by the merging parties’ executives, whether in- or out-of-

court, have “little probative value” when they “involve promises or

speculations about the employees’ future, post-merger behavior.” AT&T,

916 F.3d at 1045.11 “[E]vidence that is subject to manipulation by the

party seeking to use it is entitled to little or no weight.” Hospital Corp.,

807 F.2d at 1384. Indeed, evidence “is deemed of limited value

whenever such evidence could arguably be subject to manipulation.”

Chicago Bridge, 534 F.3d at 435 (emphasis original); accord Aetna, 240


 11 Worse yet, the merging parties’ executives were repeatedly

impeached at the court hearing, and one even recanted his prior
testimony. See, e.g., Hr’g Tr. 348:24-352:3 [2-ER-132-36] (Microsoft
Gaming CEO recanting deposition testimony); Hr’g Tr. 273:2-274:12,
274:18-275:19, 290:15-292:18, 292:20-293:18, 300:11-301:21, 304:15-
305:14, 315:24-317:10, 333:20-336:3, 347:22-348:23, 355:17-356:19 [2-
ER-112-20, 123-24, 126-32, 137-38] (Microsoft Gaming CEO
impeached); Hr’g Tr. 998:3-999:13 [2-ER-67-68] (Microsoft Gaming CFO
impeached); Hr’g Tr. 737:21-739:9, 744:18-745:25, 751:5-751:19, 753:10-
25, 756:1-757:8, 761:1-762:7 [2-ER-80-84, 90, 92, 95, 97-98] (Activision
CEO impeached).


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F. Supp. 3d at 80-88 (little weight accorded to post merger business

decision because decision was deemed “a strategy to improve

[defendant’s] litigation position”).

     Here, the evidence showed that the merged firm likely will have

structural economic incentives to foreclose. Regardless of the veracity of

executive testimony concerning the merged firm’s intended plans,

current plans can change—as with the ZeniMax deal that was pursued

with no publicly stated plans for foreclosure—and executives can leave

the firm, with their replacements having different business priorities or

strategies. The merged firm’s economic incentives, in contrast, remain

constantly tied to the market’s competitive dynamic. The district court’s

heavy reliance on unreliable evidence of intent is a reversible error.

     B.      Partial Foreclosure Is Likely Even Absent the
             Incentives for Full Foreclosure

     The district court failed to properly evaluate the FTC’s argument

that the merger is likely to lead to partial foreclosure in the relevant

markets.12



 12 The court mistakenly faulted the FTC for omitting that theory from

“its original moving papers.” Op. 45 [1-ER-46]. In fact, partial
foreclosure was part of both the complaint (ECF_1 ¶¶117-125) [3-ER-


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     Partial foreclosure refers to anticompetitive strategies that are

more subtle than outright denial of access. Examples include timed

exclusivity, where Microsoft would delay release of Activision content

on rival platforms; and content degradation, where Microsoft would

degrade the performance, gameplay, or features of Activision games on

rival platforms by delaying or failing to make software updates. PX5000

at 181 [3-ER-374]; Hr’g Tr. 54:16-21 [2-ER-144]. Activision’s CEO

testified that different game features can be made available on one

platform but not another, and that these variations can be used for

marketing. Hr’g Tr. 728:7-18 [2-ER-79]. Indeed, because of the risk of

partial foreclosure,



      . PX1015 at 27 [3-ER-457].

     The district court rejected the FTC’s partial foreclosure theory of

harm on the mistaken view that “[i]f the FTC has not shown a financial

incentive to engage in full foreclosure, then it has not shown a financial

incentive to engage in partial foreclosure.” Op. 45 [1-ER-46]. That is



554-56], and the original motion for relief, ECF_7 at 20-22 [3-ER-544-
46].


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simply incorrect. The Supreme Court has held that a vertical merger

may violate Section 7 despite the merged firm being financially

incentivized to engage in only partial foreclosure. DuPont, 353 U.S. at

605. See, e.g., United States v. Sybron Corp., 329 F. Supp. 919, 928-29

(E.D. Pa. 1971) (same).13 Even assuming arguendo that the FTC failed

to show a likelihood of total foreclosure here, partial foreclosure

remains likely, and indeed would be less costly for the merged firm,

because Microsoft would not be giving up all revenues from the

withheld content. See Steven Salop & Jennifer Sturiale, Vertical Merger

Enforcement in the Draft Merger Guidelines, PROMARKET (July 28,

2023) (partial foreclosure is “generally more profitable than total

denial”).

     The district court further erred when it concluded that “the record

does not include any evidence Microsoft has engaged in such conduct

[involving partial foreclosure] in the past.” Op. at 46 [1-ER-47]. In fact,

there was ample evidence. Following the ZeniMax acquisition, Microsoft



 13 Leading economists agree on this bedrock principle. E.g., Jonathan

B. Baker, Nancy L. Rose, Steven C. Salop & Fiona Scott Morton, Five
Principles for Vertical Merger Enforcement, 33 Antitrust 12, 13 (2019)
(“foreclosure” encompasses variety of ways to disadvantage rivals).


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Gaming’s CFO stated that although Microsoft was not withholding

ZeniMax content from rivals (no full foreclosure), Microsoft “want[ed]

that content in the long run to be either first or better or best or pick

your differentiated experience on our platform.” Hr’g Tr. 955-56 [2-ER-

60-61] (discussing PX9192); accord Hr’g Tr. 957 [2-ER-62]. “First,” he

added “could mean showing up first on a Microsoft platform as

compared to another platform,” as it did with ZeniMax’s Starfield. Hr’g

Tr. 958 [2-ER-63]. And “better” could refer to better resolution, safety,

security or other features, versus Microsoft’s rivals. Hr’g Tr. 960 [2-ER-

65]. Microsoft Gaming’s CFO confirmed that the ZeniMax titles

Starfield and Redfall were introduced on Microsoft’s Xbox first, “so

we’re following through on the things I said there.” Hr’g Tr. 961 [2-ER-

66]. This evidence flatly contradicts the district court’s finding of no

proof that Microsoft had engaged in partial foreclosure strategies.

      The district court’s failure to address the FTC’s arguments and

evidence regarding partial foreclosure is reversible error.

IV.   THE DISTRICT COURT ERRED IN ACCORDING NO WEIGHT TO
      THE PUBLIC EQUITIES THAT FAVOR RELIEF

      Under Section 13(b), once the FTC has raised “serious questions”

concerning the antitrust merits, it may obtain a preliminary injunction


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upon a showing that the balance of equities favors granting such relief.

15 U.S.C. § 53(b); Affordable Media, 179 F.3d at 1233; Warner

Commc’ns, 742 F.2d at 1165. In weighing the equities, “public equities

receive far greater weight,” and “private equities alone do[] not justify

denial of a preliminary injunction.” Id. Public equities include the

effective enforcement of the antitrust laws and preserving the FTC’s

ability to order meaningful relief in its merits proceedings. Id. In this

analysis, courts “must place great weight on the public interest in

blocking a possibly anticompetitive merger before it is complete.” Whole

Foods, 548 F.3d at 1050-51 (Tatel, J., concurring).

     The district court’s application of the relevant legal standard (Op.

52 [1-ER-53]) was faulty in multiple respects. First, the court turned

the equities inquiry on its head. Once the FTC has demonstrated a

sufficient likelihood of ultimate success, that “‘creates a presumption in

favor of preliminary injunctive relief’.” Whole Foods, 548 F.3d at 1035

(quoting Heinz, 246 F.3d at 726); accord, Penn St. Hershey, 838 F.3d at

352. The merging parties then “may rebut that presumption … by

showing equities weighing in favor of the merger.” Whole Foods, 548

F.3d at 1035 (citing FTC v. Weyerhaeuser Co., 665 F.2d 1072, 1087 (D.C.



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Cir. 1981)); accord Heinz, 246 F.3d at 727; Elders Grain, 868 F.2d at

903. The district court thus should have started its analysis of the

equities by presuming preliminary relief was warranted. Instead, the

court wholly ignored the presumption and faulted the FTC for not, in

the court’s view, sufficiently proving that the equities favor relief.

     At any rate, the district court erred when, in ruling that the

balance of equities does not favor preliminary relief, it placed too much

weight on the merging parties’ private interests in closing the deal

before their self-imposed deadline and wholly ignored the strong public

equities at stake. “‘[T]he public interest in effective enforcement of the

antitrust laws’ was Congress’s specific ‘public equity consideration’ in

enacting [Section 13(b)].” Whole Foods, 548 F.3d at 1035 (quoting Heinz,

246 F.3d at 726). Yet here, the court gave no weight to this fundamental

public interest. See Op. 51-52 [1-ER-52-53]. Once the FTC “raise[d]

serious” questions about those merits, Warner Commc’ns, 742 F.2d at

1164, and the merging parties failed to demonstrate the existence of

any public (rather than private pecuniary) interest in allowing the

merger to close, the court should have issued a preliminary injunction.




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Effective enforcement of the antitrust laws is not served by short-

changing the FTC’s ultimate merits proceeding.

     Moreover, contrary to the court’s suggestion, Op. 52 [1-ER-53],

preserving the FTC’s ability to order meaningful relief is not

outweighed by a contractual provision keeping Call of Duty on

PlayStation for another year. The merger’s impact goes far beyond one

game franchise and one platform competitor. That Call of Duty will

remain available on PlayStation for a little longer says nothing about

Activision’s other content or about Microsoft’s foreclosure of rivals in

other relevant markets, including for multi-game library services and

for the cloud subscription services that, according to Microsoft itself,

constitute the “future of gaming.” In the end, an effective divestiture

after the parties have merged can be “exceedingly difficult” or even

impossible. See Warner Commc’ns, 742 F.2d at 1165; Whole Foods, 548

F.3d at 1033-34.

     Further, the merger likely will permit Microsoft to take other,

practically irreversible actions that harm competition. The merging

parties can immediately begin sharing confidential data, including

strategic and long-term plans. Microsoft’s post-merger ability to access



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confidential data of rivals that now is in the possession of Activision

cannot be undone if the merger proves unlawful. See, e.g., Filtrol Corp.

v. Slick Corp., No. 69-607-ALS, 1969 WL 219, at *8 (C.D. Cal. Dec. 29,

1969), aff’d, 428 F.2d 826 (9th Cir. 1970) (preliminarily enjoining

vertical merger). That very risk likely will cause competitors to cease

sharing confidential information with the merged firm. PX3378 at 11 [2-

ER-193]. These concerns are particularly acute in nascent, technology-

driven markets like the ones at issue here, where early harm to

competition can have an outsized impact on how these markets develop.

      Likewise, the merged firm can immediately start exclusivity plans

akin to Microsoft’s post-merger conduct following the ZeniMax deal. The

district court itself found that “it is likely Call of Duty will be offered

exclusively on Game Pass, and not offered on rival subscription

services.” Op. 47 [1-ER-48]. The harm in that market will thus begin

immediately upon consummation.

      On the other hand, the only reason defendants offered for allowing

the merger to proceed before the merits are adjudicated was the July

18, 2023, merger termination date. Op. 51 [1-ER-52]. But that proved to




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be an artificial deadline, which the merging parties readily extended

days after the court issued its rushed decision. See supra at 14-15.

     In sum, the court improperly allowed a privately negotiated

contract term to tip the balancing of equities when defendants made no

showing that pausing the merger would deprive consumers of any

immediate benefit, or that allowing the merger to close immediately

was critical to any other public equity. As this Court has recognized,

“private equities alone” are not enough to warrant denying relief.

Warner, 742 F.2d at 1165. Such private harms “would result if any

merger is enjoined on the eve of its consummation; yet Congress

enacted § 13(b) authorizing injunctive relief,” signaling that “it thought

that little weight should be given to them.” Food Town, 539 F.2d at

1346; FTC v. Univ. Health, Inc., 938 F.2d 1206, 1225 (11th Cir. 1991)

(cost to parties of delaying the transaction has “little weight” in

balancing of equities); accord Whole Foods, 548 F. 3d at 1041-42; Heinz,

246 F.3d at 726. In sharp contrast to these cases, here the district court

gave dispositive weight to purely private interests—in an equities-

balancing analysis that is supposed to give primary consideration to

public interests.



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      The district court’s failure to account for these public equities

favoring relief warrants a reversal of its denial of relief.

                              CONCLUSION

      The Court should reverse the decision below and enjoin the

proposed acquisition by Microsoft of Activision pending the outcome of

the administrative adjudication.

                 STATEMENT OF RELATED CASES

      Pursuant to Circuit Rule 28-2.6(c), the FTC is aware of another

case pending in the Court involving the same transaction at issue in

this case. DeMartini et al v. Microsoft Corp., No. 23-15846, involves

private appellants seeking reversal of the district court’s denial of their

motion for a preliminary injunction against Microsoft’s acquisition of

Activision.




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                                         Respectfully submitted,

HOLLY VEDOVA                             ANISHA S. DASGUPTA
Director                                 General Counsel
JOHN NEWMAN                              MARIEL GOETZ
Deputy Director                          Acting Director of Litigation
SHAOUL SUSSMAN                            /s/ Imad Abyad
Associate Director for Litigation        IMAD D. ABYAD
JAMES H. WEINGARTEN                      Attorney
PEGGY BAYER FEMENELLA
                                         FEDERAL TRADE COMMISSION
JAMES ABELL
                                         600 Pennsylvania Avenue, NW
CEM AKLEMAN
                                         Washington, DC 20580
MEREDITH R. LEVERT
                                         (202) 326-3579
JENNIFER FLEURY
                                         iabyad@ftc.gov
Attorneys
BUREAU OF COMPETITION                    Counsel for
                                         Federal Trade Commission




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Date: August 28, 2023             Attorney
                                  FEDERAL TRADE COMMISSION
